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                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 1/11/2021


 UNITED STATES OF AMERICA,
                                                                   No. 20-CR-530
                        v.
                                                                     ORDER
 RAKEEM STEPHEN,

                             Defendant.


RONNIE ABRAMS, United States District Judge:

         The sentence is scheduled for March 12, 2021 at 3:00 p.m. Consistent with the

Court’s Individual Rules and Practices in Criminal Cases, defendant’s sentence submission is

due February 26, 2021 and the Government’s sentence submission is due March 5, 2021. The

parties shall inform the Court if defendant consents to have this matter held remotely, by video

conference, or if he wishes to have his sentence held in person.

SO ORDERED.

Dated:      January 11, 2021
            New York, New York

                                                 Ronnie Abrams
                                                 United States District Judge
